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              9      WHATSAPP INC. and FACEBOOK, INC.

            10
                                                    UNITED STATES DISTRICT COURT
            11
                                                NORTHERN DISTRICT OF CALIFORNIA
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                     WHATSAPP INC., a Delaware corporation,         Case No. 3:19-cv-07123-JSC
            14       and FACEBOOK, INC., a Delaware
                     corporation,                                   PLAINTIFFS FACEBOOK, INC. AND
            15                                                      WHATSAPP INC.’S CERTIFICATE
                                                                    OF INTERESTED ENTITIES
            16                        Plaintiffs,

            17              v.

            18       NSO GROUP TECHNOLOGIES LIMITED
                     and Q CYBER TECHNOLOGIES LIMITED,
            19
                                      Defendants.
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  COOLEY LLP                                                                    CERTIFICATE OF INTERESTED ENTITIES
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                                                                1                      CASE NO.: 3:19-CV-07123-JSC
                             Case 4:19-cv-07123-PJH Document 6 Filed 10/29/19 Page 2 of 2



              1                           L.R. 3-15 CERTIFICATE OF INTERESTED ENTITIES

              2              Under Civil L.R. 3-15, counsel for plaintiffs certifies that, as of this date, other than the named

              3      parties, there is no such interest to report.

              4
                     Dated: October 29, 2019                         Respectively submitted,
              5
                                                                     COOLEY LLP
              6
              7
                                                                      /s/ Travis LeBlanc
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  COOLEY LLP                                                                               CERTIFICATE OF INTERESTED ENTITIES
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                                                                        2                         CASE NO.: 3:19-CV-07123-JSC
